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EXHIBIT A
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Brenner, Wendy

From: Daniel F. Goldstein [dfg@browngold.com]
Sent: Thursday, March 04, 2010 9:37 AM

To: Brenner, Wendy

Ce: Tenhoff, Gregory

Subject: RE: ACT

Stephanie's letter provides no contact information, so we are still at square one in finding someone to talk to about setting
up tomorrow rather than Saturday morning. Larry has a call into Brian Maschler at Gordon Rees, but | suspect that
someone at NCBE can put us on the right track. Thanks.

Daniel F. Goldstein

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From: Brenner, Wendy [mailto: BRENNERWJ@cooley.com]
Sent: Wednesday, March 03, 2010 5:46 PM

To: Daniel F. Goldstein

Subject: ACT

Did Stephanie get a letter from ACT re her test administration? If so, then she should start by
contacting the person who signed that letter. That person should know about her administration

details.

Wendy Brenner

Cooley Godward Kronish LLP

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